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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                Office of the Clerk
        United States Courthouse
                                                                               Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
March 8, 2024

                                                   Before
                                     MICHAEL B. BRENNAN, Circuit Judge
                                     MICHAEL Y. SCUDDER, Circuit Judge
                                     THOMAS L. KIRSCH II, Circuit Judge

                                     COALITION LIFE,
                                             Plaintiff - Appellant

No. 23-2367                          v.

                                     CITY OF CARBONDALE, ILLINOIS,
                                              Defendant - Appellee
Originating Case Information:
District Court No: 3:23-cv-01651-SPM
Southern District of Illinois
District Judge Stephen P. McGlynn


The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision of
this court entered on this date.




                                                                      Clerk of Court




form name: c7_FinalJudgment        (form ID: 132)
